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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL MDL NO. 1456

INDUSTRY AVERAGE WHOLESALE Master File No.: 01-CV-12257-PBS
PRICE LITIGATION Sub-Docket No. 07-12141

THIS DOCUMENT RELATES TO: Judge Patti B. Saris

State of lowa v. Abbott Laboratories, et al. Magistrate Judge Marianne B. Bowler

PRO HAC VICE DECLARATION OF JANINE L. SCANCARELLI

l. | am an attorney with the firm Crowell & Moring LLP, counsel in this matter to
defendant Purepac Pharmaceutical Company. I submit this Declaration in support of my
admission pro hac vice to the bar of this Court, pursuant to paragraph 16 of Case Management
Order No. 1.

2. ] am an attorney duly licensed to practice law in the State of California. | have
also been admitted to practice before the United States Courts of Appeals for the Ninth Circuit,
and United States District Courts for the Northern, Central and Eastern Districts of California.

3. I am a member of the bar in good standing in every jurisdiction in which | have
been admitted. There have been and are no disciplinary actions pending against me, and I am
familiar with the Local Rules of the U.S. District Court for the District of Massachusetts.

| declare under penalty of perjury that the foregoing is true and correct. Executed this 8th

day of July, 2010. |

pee /
(Janie L. Seancarelli

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